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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                    Southern Division

                                                    *
STEPHANE J. WANTOU SIANTOU,
                                                    *
        Plaintiff,
                                                    *
v.                                                            Case No.: PWG-17-543
                                                    *
     CVS RX SERVICES,        INC.,
                                                    *
        Defendant.
                                                    *
*       *        *      *        *       *      *       *     *       *      *         *     *
                                       ORDER OF JUDGMENT

        In this case, trial on the issue of punitive damages was bifurcated from trial on the

underlying claims and compensatory damages. On February 28,2019, a jury returned a verdict in

favor of the PlaintiffStephane   1. Wantou Siantou against Defendant CVS Rx Services, Inc. on the

issue of whether Defendant subjected Plaintiff to retaliation in violation of Title VII of the Civil

Rights Act of 1964,42 U.S.C.     S   1981, and the Maryland Fair Employment Practices Act. On July

11, 2019, a jury returned a verdict in favor of Defendant CVS Rx Service Inc. on the issue of

whether Plaintiff was entitled to punitive damages.

        These verdicts having been returned, it this day ORDERED,

        1. Judgment is entered in favor of Plaintiff, against Defendant,         III   the amount of

            $125,000.00 (One Hundred and Twenty-Five Thousand Dollars);

       2. Judgment is entered in favor of Defendant on the issue of punitive damages.

        3. Judgment is entered in favor of Plaintiff, against Defendant, for costs in accordance


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   with Fed. R. Civ. P. 54(d)(1); and

4. Any and all prior rulings made by the Court disposing of any claims against any parties

   are incorporated by reference herein, and this Order shall be deemed to be a final

   judgment within the meaning of Fed. R. Civ. P. 58.




                                                    Paul W. Grimm
                                                    United States Distric Judge




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